 

Case 4:17-cr-00122-Y Document 22 Filed 08/16/17 Page 1` 0[__§_ DI;'SB‘,Q;Q§Q 955§;=;"[~.
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IN THE UNiTED STATES DISTRICT C(i)URT
FOR 'l`HE NORTHERN DISTRlCT OF TEXAS
FORT WORTH DiVlSION

 

 

By

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UNITED STATES OF AMERICA

 

 

§
§

vs. § CRIMINAL No. 4:17~€1<~122»\/
§

ANTHONY ALEXANDER FERRARI (t) §

REPORT OF ACTION AND REC()MMENDATION ON PLEA
BEFORE THE UNITED STATES MAGISTRATE JUDGE

This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. § 636(i))(3).
Tinis case has been referred by the United States district judge to the undersigned for the taking of
a guilty piea. Tiie parties have consented to appear before a United States magistrate judge for
these purposes

The defendant appeared With counsel before the undersigned United States magistrate
judge Who addressed the defendant personally in open court and informed the defendant of, and
determined that the defendant understood, the admonitions contained in Rule il of the Federai
Rules of Criminal Procedure.

'i`he defendant pied guilty to count one of the one-count indictment charging defendant
with the vioiation of 21 U.S.C. §§ 84i(a)(l) and (b)(i)(C). The undersigned magistrate judge
finds the following

1. The defendant, upon advice of counsei, has consented orain and in Writing to

enter this guilty piea before a magistrate judge subject to final approval and

sentencing by the presiding district judge;

2. The defendant fully understands the nature of the charges and penalties;

3. The defendant understands all constitutionai and statutory rights and Wishes to

waive these rights, including the right to a trial by jury and the right to appear
before a United States district judge;

 

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Before the United States Magistrate Judge
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4. The defendant’s plea is made freely and voluntarily;

5. The defendant is competent to enter this plea of guilty;

6. There is a factual basis for this plea; and

7. The ends of justice are served by acceptance of the defendant’s plea of guilty.

Aithough l have conducted these proceedings, accepted the defendant’s plea of guilty, and
pronounced the defendant guilty in open court, upon the defendant’s consent and the referral from
the United States district judge, thatjudge has the power to review my actions in this proceeding
and possesses final decision making authority Thus, if the defendant has any Objections to the
findings or any other action of the undersigned he shouid make those known to the United States
district judge within fourteen days of today.

I recommend that defendant’ s plea ofguiity be accepted and that the defendant be adjudged
guilty by the United States district judge and that sentencebe imposed tordingly.

Signed August l6, 20l7.

  
  
 

 

 

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